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                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 Case No.1:06-CR-298
                                    )
v.                                  )                 Honorable Gordon J. Quist
                                    )
RENE GARZA, JR.,                    )
                                    )
                  Defendant.        )
____________________________________)


                       AMENDED REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 25, 2007, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Rene Garza, Jr., entered a plea of guilty to Count 1 of the Second Superseding

Indictment charging him with conspiracy to distribute and possess with intent to distribute more than

1,000 kilograms of a mixture or substance containing marijuana in violation of 21 U.S.C. §§ 846,

841(a)(1) and (b)(1)(A)(vii), in exchange for the undertakings made by the government in the written

plea agreement. On the basis of the record made at the hearing, I find that defendant is fully capable

and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the written plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
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                  I therefore recommend that defendant's plea of guilty to Count 1 of the Second

Superseding Indictment be accepted, that the court adjudicate defendant guilty of the charge, and that

the written plea agreement be considered for acceptance at the time of sentencing. Acceptance of

the plea, adjudication of guilt, acceptance of the written plea agreement, and imposition of sentence

are specifically reserved for the district judge.

                  The Clerk is directed to procure a transcript of the plea hearing for review by the

District Judge.



Dated: May 25, 2007                             /s/ Joseph G. Scoville
                                                U.S. Magistrate Judge



                                       NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR .R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030 (1997); United States
v. Walters, 638 F.2d 947 (6th Cir. 1981).




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